IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION

Select Medical Rehabilitation )
Services, Inc., a Delaware corporation, )
)
Plaintiff, )

V. ) No. lZ-cv-4662
)
Morris Healthcare & Rehabilitation )
Services, Inc., an Illinois corporation, and )
Morris Healthcare & Rehabilitation )
Center, LLC, an Illinois limited )
liability company. )
)
Defendants. )

CONSENT JUDGMENT

WHEREAS, Plaintiff, Select Medical Rehabilitation, Inc. (“Select Medical”), filed its
First Amended Complaint on July 8, 2013 alleging that Defendants breached an agreement
between the parties pursuant to Which Defendants agreed to compensate Plaintiff for therapy
services furnished to patients of Morris Healthcare Rehabilitation Center, LLC;

AND WHEREAS, Defendant Morris Healthcare & Rehabilitation Center, LLC has
consented to entry of this Consent Judgment Without trial or adjudication of any issue of fact or
law and to Waive any appeal if the Consent Judgment is entered as submitted by the parties;

NOW THEREFORE, Without trial or adjudication of issue of fact or law and upon consent
of Defendant l\/lorris Healthcare & Rehabilitation Center, LLC, the Court finds that there is good
and sufficient cause to enter this Consent Judgment, and that it is therefore, ORDERED,
ADJUDGED, and DECREED as follows:

l. Plaintiff, Select Medical shall be, and hereby is, awarded judgment from and
against Defendant Morris Healthcare & Rehabilitation Center, LLC, in the

amount of $473,156.26.

 

2. This judgment shall bear interest from the date of this judgment until it is paid at a
rate equal to fifteen percent (15%) per annum, as provided by the agreement that
is the subject of Plaintiff s First Amended Complaint.

3. The February ll, 2014 trial date is stricken

4. Plaintiff s Rule 69 Motion For Discovery In Aid of Execution and Collection Of
its Judgment ls Granted, and Plaintiff is granted leave of court to pursue any and
all discovery that is allowed under the law.

5. Any and all judgment debtors will be subject to liability for any and all attorneys’
fees and costs incurred by Plaintiff during discovery, as provided by the
agreement that is the subject of Plaintiffs First Amended Complaint.

6. Nothing in this order shall prevent Plaintiff from amending this Consent
Judgment as may be necessary to include any additional judgment debtors who
may be identified during the course of discovery, nor shall this order prevent
Plaintiff from amending its complaint as may be necessary to add new parties
and/or new causes of action that may be identified during discovery and as may

be necessary to enforce and/or collect its judgment

 

Date

 

Judge Charles Norgle, Sr.

Prepared by:

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